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Attachment 1


                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
              COURT CASE NUMBER: 5:21-CR-9-11; NOTICE OF FORFEITURE

        Notice is hereby given that on November 28, 2023, in the case of U.S. v. Patricio et.
al. (Luis Alberto Martinez), Court Case Number 5:21-CR-9-11, the United States District
Court for the Southern District of Georgia entered an Order condemning and forfeiting the
following property to the United States of America:

       Cash seized pursuant to a federal search and seizure warrant. (22-DSS-000011)
       which was seized from Luis Martinez on November 17, 2021 at 96 Holland Rd,
       located in Tifton, GA

       1964 Chevy Impala VIN 41447016054 Title No. 161540090097 VIN# 41447016054
       (22-DSS-000022) which was seized from Luis Alberto Martinez on November 17,
       2021 at 96 Holland Rd, located in Tifton, GA

       Synovus bank check number 537004755 for $20269.23. Acct# ******9855
       (22-DSS-000055) which was seized from Luis Alberto Martinez on November 17,
       2021 at 96 Holland Rd, located in Tifton, GA

       APN or Owner/VIN (if SFD Manufactured Home): 039 00 039. 102 Ashley Ln,
       McRae Helena, GA 31055, Telfair County County (22-DSS-000063) Parcel # 039 00
       039

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (November 30, 2023) of
this Notice on this official government internet web site, pursuant to Rule 32.2 of the
Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition
must be filed with the Clerk of the Court, 601 Tebeau Street, Waycross, GA 31501, and a
copy served upon Assistant United States Attorney Tania D. Groover, P.O. Box 8970,
Savannah, GA 31412. The ancillary petition shall be signed by the petitioner under
penalty of perjury and shall set forth the nature and extent of the petitioner's right, title or
interest in the forfeited property, the time and circumstances of the petitioner's acquisition
of the right, title and interest in the forfeited property and any additional facts supporting
the petitioner's claim and the relief sought, pursuant to 21 U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

       The government may also consider granting petitions for remission or mitigation,
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which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Tania D. Groover, P.O. Box 8970, Savannah, GA 31412. This website provides
answers to frequently asked questions (FAQs) about filing a petition for remission. You
may file both an ancillary petition with the court and a petition for remission or mitigation.
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                                   Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between November 30, 2023 and December 29, 2023. Below is a summary report that identifies the
uptime for each day within the publication period and reports the results of the web monitoring system’s
daily check that verifies that the advertisement was available each day.

U.S. v. Patricio et. al. (Luis Alberto Martinez)

Court Case No:                5:21-CR-9-11
For Asset ID(s):              See Attached Advertisement Copy

   Consecutive           Date Advertisement            Total Hours Web Site         Verification that
   Calendar Day           Appeared on the              was Available during          Advertisement
       Count                  Web Site                     Calendar Day            existed on Web Site
         1                   11/30/2023                      23.9                          Verified
         2                   12/01/2023                      23.9                          Verified
         3                   12/02/2023                      23.9                          Verified
         4                   12/03/2023                      23.9                          Verified
         5                   12/04/2023                      23.9                          Verified
         6                   12/05/2023                      23.9                          Verified
         7                   12/06/2023                      23.9                          Verified
         8                   12/07/2023                      23.9                          Verified
         9                   12/08/2023                      23.8                          Verified
        10                   12/09/2023                      23.9                          Verified
        11                   12/10/2023                      23.9                          Verified
        12                   12/11/2023                      23.9                          Verified
        13                   12/12/2023                      23.9                          Verified
        14                   12/13/2023                      23.9                          Verified
        15                   12/14/2023                      23.9                          Verified
        16                   12/15/2023                      23.9                          Verified
        17                   12/16/2023                      23.9                          Verified
        18                   12/17/2023                      23.9                          Verified
        19                   12/18/2023                      24.0                          Verified
        20                   12/19/2023                      24.0                          Verified
        21                   12/20/2023                      23.9                          Verified
        22                   12/21/2023                      23.9                          Verified
        23                   12/22/2023                      23.9                          Verified
        24                   12/23/2023                      23.9                          Verified
        25                   12/24/2023                      23.9                          Verified
        26                   12/25/2023                      23.9                          Verified
        27                   12/26/2023                      23.8                          Verified
        28                   12/27/2023                      23.8                          Verified
        29                   12/28/2023                      23.9                          Verified
        30                   12/29/2023                      23.9                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
